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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,
                                                        Civil Action No. 1:18-cv-00262 (RBW)
         Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

         Defendants.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s minute order of January 24, 2019, the parties hereby submit the

following joint status report.

       1.       This case concerns a Freedom of Information Act (“FOIA”) request submitted by

plaintiff to the Federal Bureau of Investigation (“FBI”), a component agency of defendant United

States Department of Justice. Plaintiff’s FOIA request sought copies of all records “located

within the larger collection of former Director [James B.] Comey’s records” as described in the

Second Declaration of David M. Hardy, which was filed on December 6, 2017, in CNN v.

Federal Bureau of Investigation, No. 17-cv-01167 (D.D.C.).

       2.       The parties have agreed to a partial reduction in the scope of plaintiff’s original

request. At present, the FBI estimates that the request as revised still encompasses at least 9500

potentially responsive pages. The FBI has begun processing these potentially responsive pages.

       3.       The FBI has been processing responsive documents pursuant to its agreed-upon

schedule of processing 500 pages monthly and producing the non-exempt portions of the

responsive records included in each set of 500 pages on the 15th day of every month (or on the
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next business day if the 15th is not a business day). (Any excess by which one month’s

processing total exceeds 500 pages may be applied against the next month’s obligation.)

       4.      The FBI’s productions to date are summarized in the following table:

                No.      Date          Pages            Pages           Pages
                                       Processed        released in     withheld
                                                        whole or in
                                                        part
                1        5/11/18       139              93              46

                2        6/15/18       503              82              421

                3        7/13/18       502              349             153

                4        8/24/181      500              307             193

                5        9/14/18       1022             1019            3

                6        10/15/18      510              510             0

                7        11/14/18      500              478             22

                8        12/17/18      506              173             333

                9        1/10/19       500              106             394

                Totals                 4682             3117            1565



       5.      To date, the FBI has processed 4682 pages.

       6.      At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. In the

absence of an appropriation, Department of Justice attorneys and employees of the Department



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         This release date was extended per agreement of counsel. The numbers credited for this
release also include 78 pages that were not actually provided to plaintiff until the September 14,
2018, release.
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(including the FBI) were prohibited from working, even on a voluntary basis, except in very

limited circumstances, including “emergencies involving the safety of human life or the

protection of property.” 31 U.S.C. § 1342. Because most of the work necessary for the January,

2019, FOIA processing deadline in this case had been completed already, Defendant was able to

meet that deadline. However, because of the lapse in appropriations, processing to meet further

upcoming deadlines in this case was halted, as represented in Defendant’s stay motion of January

14, 2019 (ECF No. 12), and authorized by the Court’s minute order of January 15, 2019, vacating

the impending deadlines.

        7.     As of January 25, 2019, after a 35-day lapse, funding was restored through

February 15, 2019, for the Department of Justice. The FBI has therefore resumed processing of

records responsive to the FOIA request in this case. However, because of the lapse, the FBI is

not in a position to complete processing of the next batch of 500 pages by the next deadline set

under the previous schedule (February 15, 2019).

        8.     Accordingly, the parties have agreed that the FBI will complete processing of the

next 500-page batch of responsive documents, and produce the non-exempt portions of the

responsive records included in that batch, by March 15, 2019. Thereafter, the FBI will continue

processing of responsive documents pursuant to a schedule of processing 500 pages monthly and

producing the non-exempt portions of the responsive records included in each set of 500 pages

on the 15th day of every month (or on the next business day if the 15th is not a business day).

(Any excess by which one month’s processing total exceeds 500 pages may be applied against

the next month’s obligation.)

        9.     The parties propose to submit another status report on or before September 16,

2019.

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Dated: February 8, 2018                    Respectfully submitted,
                                           CHAD A. READLER
                                           Principal Deputy Assistant Attorney General
                                           Civil Division

                                           MARCIA BERMAN
                                           Assistant Branch Director, Civil Division

 /s/Michael Bekesha                        /s/Carol Federighi
 Michael Bekesha                           CAROL FEDERIGHI
 D.C. Bar No. 995749                       Senior Trial Counsel
 JUDICIAL WATCH, INC.                      United States Department of Justice
 425 Third Street SW, Suite 800            Civil Division, Federal Programs Branch
 Washington, DC 20024                      P.O. Box 883
 Phone: (202) 646-5172                     Washington, DC 20044
                                           Phone: (202) 514-1903
 Counsel for Plaintiff                     Email: carol.federighi@usdoj.gov

                                           Counsel for Defendant




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